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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES - GENERAL

Case No. SACR 21-00101-CJC-2 Date December 18, 2023

Present: The Honorable CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

Interpreter Alejandro Franco, Spanish

Rolls Royce Paschal Debbie Hino-Spaan Kevin Butler
Deputy Clerk Court Reporter/Recorder Assistant U.S. Attorney
U.S.A. v. Defendant(s): Present Cust. Bond Attorneys for Defendants: Present App. Ret.
2) Victor Martinez Xx Xx 2) Kenneth Reed, CJA Xx Xx

PROCEEDINGS: SENTENCING

Sentencing hearing held. See separate Judgment and Commitment Order.

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Initials of Deputy Clerk rrp

cc:

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